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AO 106 ( Rev . 04/10) Application for a Search Warrant
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                                                                                                                       NOV O6 2019
                                        UNITED STATES DISTRICT                                 Col RT
                                                                       for the                              CLl:cRK US 0ISTF1!CT COURT
                                                                                                        SOU THl:cRN DISl RICT OF CALIFORNI A
                                                            Southern District of California             BY                          DEPUTY


              In the Matter of the Search of
          (Briefly describe the property to be searched
           or identify the person by name and address)
                 Black Samsung Android cellular phone
                     IMEI No . 357135082946768/01
                                                                                      Case No.
                                                                                                     19MJ49 34
                Seized as FP&F No. 2020565800001 701
                          ("Targ et Device #1 ")

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, req uest a search warrant and state under
penalty of perjury that I have reason to believe that on the fol lowing person or property (identify the person or describe the
prf)JJerty /Q be, searched afld give its location):
  :::,ee Attacnment A- 1

located in the               Southern                 District of            California             , there is now co ncealed          (iden1ijj1the
person or describe the pi·operty lo be seized):
  See Attachment B


           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
                ~ evidence of a crime;
                  0 contraband, fruits of crime, or other items illegall y possessed ;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained .

           The search is related to a vio lation of:
               Code Section                                                             Offense Description
         Title 8, Un ited States Code§                 Transport Illegal Ali ens(a)(1 )(A)(ii) and (v)(II)
         1324

          The application is based on these facts :
         See Attached Affidavit


           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days : _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                   C:-7                   ~
                                                                                                   Applicant 's signature

                                                                               Giancarlo Lugo , Border Patrol Agent, U.S. Border Patrol
                                                                                                   Printed name and title

Sworn to before me and signed in my presence.


Date :            11/06/2019                                                      LAJii,o£(LA,,bf, / 4 ~
                                                                                                     Judge 's signature

City and state: San Diego , California                                        The Honorable All ison H. Goddard , U.S. Magistrate Judge
                                                                                                   Printed name and title
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 1                                               AFFIDAVIT
 2              I, Giancarlo Lugo, being duly sworn, hereby state as follows:

 3                                            INTRODUCTION
 4
     II           1.   I submit this affidavit in support of an application for warrant(s) to search
          the following electronic device(s):
 5
                             Black Samsung Android cellular phone
 6
                             IMEI No. 357135082946768/01
 7                           Seized as FP&F No. 2020565800001701
                             ("Target Device #1 ")
 8
 9                           Black Samsung Android cellular phone
                             IMEi No. 353568100799468/03
10
                             Seized as FP&F No. 2020565800001701
11                           ("Target Device #2")
12
                             Black Samsung Android cellular phone
13                           IMEi No. 353568100800357 /03
                             Seized as FP&F No. 2020565800001701
14
                              ("Target Device #3")
15
          the "Target Device(s)", as further described in Attachment(s) A-1, A-2, and A-3 and
16 II
      to     seize evidence of crime, specifically, violations of Title 8, United States Code,
17 II
     11
          Section 1324 (Alien Smuggling), as further described in Attachment B .
18
                2.     The requested warrant(s) relate(s) to the investigation and prosecution ofLuis
19
     II HERNANDEZ for smuggling illegal aliens from Mexico into the United States. The
20
21
     II Target Device(s) is/are currently in the custody of Department of Homeland Security,
     11
          Customs and Border Protection, United States Border Patrol, San Diego Sector.
22
23              3.     The facts set forth in this affidavit are based upon my personal observations,

24   II my training and experience, and information obtained from various law enforcement
25   II personnel and witnesses, including my review of reports prepared by other law
26        enforcement officers and agents. This affidavit is intended to show that there is sufficient

27        probable cause for the requested warrant(s) and does not purport to set forth all of my
28   II knowledge of the investigation into this matter. Dates and times are approximate.
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 1
 2                               TRAINING AND EXPERIENCE
           4.     I have been employed by the USBP since 2008, and am currently assigned
 3
     to the San Diego Sector Prosecutions Unit. I graduated from the Border Patrol Basic
 4
     Academy at the Federal Law Enforcement Training Center in Artesia, New Mexico. I am a
 5
     Federal Law Enforcement Officer within the meaning of Rule 4l(a)(2)(C), Federal Rules
 6
     of Criminal Procedure and have been a Federal Law Enforcement Officer for ten years. I
 7
     am authorized by Rule 41 ( a) Federal Rules of Criminal Procedure to make applications for
 8
     search and seizure warrants and serve arrest warrants. I have experience and have received
 9
     training with respect to conducting investigations of immigration and criminal violations of
10
11   Titles 8, 18, 19, and 21 of the United States Code.

12         5.     My current duties involve the preparation of criminal and administrative cases

13   for prosecution, including the use of linking related subjects and information via electronic

14 equipment and telephones. In the course of my duties, I investigate and prepare for
15 prosecution cases against persons involved in the inducement, transportation, and harboring
16 of illegal aliens into and within the United States; and, the utilization of illegally-obtained,
17 counterfeit, altered or genuine immigration documents by illegal aliens to illegally gain
l 8 entry or remain in the United States.

19         6.     During my tenure as a Border Patrol Agent, I have participated in the

20   investigation of a number of cases involving the smuggling of aliens from Mexico into the

21   United States and transportation of illegal aliens within the United States, which have
22 resulted in the issuance of arrest warrants, search warrants, seizure warrants, and the
23   indictments of persons for alien smuggling, including drivers, passengers, and guides.

24         7.     Through the course of my training, investigations, and conversations with
25   other law enforcement personnel, I have gained a working knowledge of the operational
26   habits of alien smugglers and alien transporters, in particular those who attempt to smuggle
27   aliens into the United States from Mexico and transport them throughout the Southern
28 District of California. I am aware that it is a common practice for alien smugglers to work

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 1 II in concert with other individuals and to do so by utilizing cellular telephones to maintain
 2 II communications with co-conspirators and/or illegal aliens in order to further their criminal
 3 II activities. Because they are mobile, the use of cellular telephones permits alien smugglers
 4 II and transporters to easily carry out various tasks related to their smuggling activities,
 5 II including, e.g., remotely monitoring the progress of the aliens while the aliens are in transit,
 6 II providing instructions to transporters, guiding aliens to specific pick up locations, warning
 7 II accomplices about law enforcement activity in the area and the status of check-point
 8 II operations, and communicating with co-conspirators who guide aliens, coordinate drop off
 9 II locations, and/or operate alien stash houses.
1O II        8.    The smuggling of aliens generates many types of evidence, including, but not
11 II limited to, cellular phone-related evidence such as voicemail messages referring to the
12 11 arrangements of travel, names, photographs, text messaging (via SMS or other
13 II applications), and phone numbers of co-conspirators and illegal aliens.          For example,
14 II drivers and passengers responsible for transporting illegal aliens are typically in telephonic
15 II contact with co-conspirators immediately prior to and/or following the crossing of the
16 II illegal aliens at the border, at which time they receive instructions, including where to pick-
17 II up the illegal aliens for transportation into the United States and where to take the illegal
18 II aliens after crossing into the United States. These communications may also include
19 II locations for delivery to stash houses and/or sponsors. Illegal aliens also are typically in
20 II telephonic contact with co-conspirators prior to and following their crossing in order to
21      make smuggling arrangements, receive instructions, and report their locations after
22 crossing.
23 II        9.    Based upon my training, experience, and consultations with law enforcement
24 II officers experienced in narcotics trafficking investigations, and all the facts and opinions
25 II set forth in this affidavit, I know that cellular telephones (including their Subscriber
26 II Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
27 II for example, phone logs and contacts, voice and text communications, and data, such as
28 II emails, text messages, chats and chat logs from various third-party applications,

                                                      3
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 1 II photographs, audio files, videos, and location data. In particular, in my experience and
 2 II consultation with law enforcement officers experienced in alien smuggling investigations,
 3 II I am aware that individuals engaged in alien smuggling may store photos and videos on
 4 II their cell phones that reflect or show co-conspirators and associates engaged in alien
 5 II smuggling, as well as images and videos with geo-location data identifying alien smuggling
 6 II transportation routes, and communications to and from recruiters and organizers.
 7              10.     This information can be stored within disks, memory cards, deleted data,
 8 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
 911 telephone.       Specifically, searches of cellular telephones may yield evidence:
10
                a.     tending to indicate efforts to smuggle aliens from Mexico into the United
11                     States;
12
                b.     tending to identify accounts, facilities, storage devices, and/or services-
13                     such as email addresses, IP addresses, and phone numbers-used to
                       facilitate alien smuggling and transportation of smuggled aliens;
14
15              C.     tending to identify co-conspirators, criminal associates, or others involved
                       in alien smuggling, or transportation of smuggled aliens;
16
17              d.     tending to identify travel to or presence at locations involved in the
18                     smuggling, transportation, or harboring of illegal aliens, such as stash
                       houses, load houses, or delivery points;
19
20              e.     tending to identify the user of, or persons with control over or access to,
                       the Target Device(s); and/or
21
22              f.     tending to place in context, identify the creator or recipient of, or establish
                       the time of creation or receipt of communications, records, or data involved
23                     in the activities described above.
24
25
                               FACTS SUPPORTING PROBABLE CAUSE
26
                11.    On November 5, 2019, Border Patrol Agent F. Herrera, who was wearing a full
27   11
          rough duty uniform, was conducting assigned duties in the Imperial Beach Border Patrol
28
     II Station's area of responsibility.   At approximately 10:26 PM, Agent Herrera was notified by

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 1 II the Joint Harbor Operations Center (JHOC) camera operator that they had observed a jet-ski
 2 II type of personal water craft entering into United States Territorial Waters from Mexican
 3 II Territorial Waters west of the Border Field State Park shoreline.
 4            12.   At approximately 10:31 PM, the JHOC camera operator observed one
 5 II individual disembarking the jet-ski along the Imperial Beach shoreline adjacent to the
 6 II Seacoast Drive and Descanso Avenue intersection. This area is situated approximately five
 7 11 miles west of the San Ysidro, California, Port of Entry and is approximate Iy two and a half
 8 II miles north of the United States/Mexico International Boundary. Agent Herrera responded
 9 II to the aforementioned area, and upon arriving, he observed a red Toyota Camry sedan, with
1O II two individuals leaving the area, northbound along Seacoast Drive. Agent Herrera followed
11 II the vehicle, and subsequently initiated a vehicle stop on the Toyota Camry on Palm Avenue
12 II east of the Palm Avenue and 3rd Street intersection. Agent Herrera approached the vehicle,
13 II identified himself as a Border Patrol Agent and conducted an immigration inspection to the
14 II passenger, who was later identified as material witness Pan LIN, and questioned LIN as to
15 II his citizenship and nationality. LIN did not appear to speak neither English nor Spanish
16 II language and was not in possession of any identification. Agent Herrera observed that LIN's
17 shoes had sand on them.
18            13.   Agent Herrera then questioned the driver, later identified as the defendant Luis
19 II HERNANDEZ, as to his citizenship and HERNANDEZ stated he is a United States citizen,
20 II and that that he had picked up LIN from the beach area. At approximately 10:45 PM, Agent
21 II Herrera placed HERNANDEZ and LIN under arrest.
22 II         14.   Material witness LIN, through a Mandarin interpreter stated he is citizen of
23 II China illegally present in the United States. LIN stated he entered the United States last night
24 II through the ocean by Jet Ski. LIN then stated he arrived at Tijuana yesterday and met a
25      Chinese on the streets who asked him if he wanted to cross the border to the United States
26 and he said "Yes."       LIN stated he crossed the same day he arrived to Tijuana that evening
27 II and "Mr. Zhang" told him to get on the Jet Ski in which he crossed last night. LIN claims he
28 II was riding in the back of the Jet Ski behind the driver. LIN stated he did not know who the

                                                   5
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          driver of the Jet Ski was because it was dark and the driver was wearing a ball cap. LIN
 2 II stated he does not know how to swim, life jackets were provided, and feared for his life. LIN
 3 II stated he told the driver it was better to go back to Tijuana but driver refused to do so.
 4 II           15.   Furthermore, LIN stated he paid $2,000 to be smuggled into the United States
 5 II to the Chinese he met on the streets "Mr. Zhang." LIN stated when he arrived to land he was
 6 II wearing all black swim suit. LIN was shown a photograph of himself and the driver who
 7 11 picked him up on the street where he was apprehended. LIN stated he was sitting on the
 8 II passenger seat next to the driver. The purpose of LIN to enter the United States is that he
 9 II never thought about that until he met "Mr. Zhang" out on the streets and asked if he wanted
10 II to cross the border. Luis HERNANDEZ' phones (Target Device(s)) were subsequently
11        seized.
12              16.   In my training and experience, alien smugglers and transporters may be
13 II involved in the planning and coordination of alien smuggling event in the days and weeks
14 11 prior to an event. Co-conspirators are also often unaware of a defendant's arrest and will
15   11   continue to attempt to communicate with a defendant after their arrest to determine the
16 II whereabouts of the aliens.       Accordingly, I request permission to search the Target
17 II Device(s) for data beginning from October 5, 2019 through November 5, 2019, which
18 II was the day following the arrest.
19                                            METHODOLOGY
20              17.   It is not possible to determine, merely by knowing the cellular telephone ' s
21 II make, model and serial number, the nature and types of services to which the device is
22 II subscribed and the nature of the data stored on the device . Cellular devices today can be
23 II simple cellular telephones and text message devices, can include cameras, can serve as
24 II personal digital assistants and have functions such as calendars and full address books and
25 II can be mini-computers allowing for electronic mail services, web services and rudimentary
26 11 word processing. An increasing number of cellular service providers now allow for their
27 II subscribers to access their device over the internet and remotely destroy all of the data
28 II contained on the device. For that reason, the device may only be powered in a secure

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 1 II environment or, if possible, started in "flight mode" which disables access to the network.
 2 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 3 II equivalents and store information in volatile memory within the device or in memory cards
 4 II inserted into the device. Current technology provides some solutions for acquiring some of
 5 II the data stored in some cellular telephone models using forensic hardware and software.
 6 II Even if some of the stored information on the device may be acquired forensically, not all
 7 II of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 8 II data acquisition or that have potentially relevant data stored that is not subject to such
 9 II acquisition, the examiner must inspect the device manually and record the process and the
10 II results using digital photography. This process is time and labor intensive and may take
11 II weeks or longer.
12 II       18.    Following the issuance of this wa1Tant, a case agent familiar with the
13 II investigation will collect the subject cellular telephone and subject it to analysis. All
14 II forensic analysis of the data contained within the telephone and its memory cards will
15 II employ search protocols directed exclusively to the identification and extraction of data
16 11 within the scope of this warrant.

17          19.    Based on the foregoing, identifying and extracting data subject to seizure
18 II pursuant to this warrant may require a range of data analysis techniques, including manual
19 II review, and, consequently, may take weeks or months. The personnel conducting the
20 II identification and extraction of data will complete the analysis within 90 days, absent
21 II further application to this comi.
22 11                    PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
23          20.    Law enforcement has previously attempted to obtain the evidence sought by
24 II this warrant through the owners' consent. Consent was not given.
25                                             CONCLUSION
26 II       22 .    Based on the facts and information set forth above, there is probable cause
27 II to believe that a search of the Target Device(s) will yield evidence of (HERNANDEZ')
28 II violations of Title 8, United States Code, Sections 1324.

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 l              23.   Because the Target Device(s) were seized at the time of (HERNANDEZ')
 2 II arrests and have been securely stored since that time, there is probable cause to believe that
 3 II such evidence continues to exist on the Target Device(s). As stated above, I believe that
 4   II the appropriate date range for this search is from October 5, 2019 through November 5,
 5 112019.
 6              24.   Accordingly, I request that the Court issue warrants authorizing law
 711 enforcement to search the item(s) described in Attachment(s) A-1, A-2, and A-3 and seize
 8 II the items listed in Attachment B using the above-described methodology.
 9              25.   I swear the foregoing is true and correct to the best of my knowledge and
10 II belief.
11
12
                                               Giancarlo Lugo
13
                                               Border Patrol Agent
14
     IJ   Subscribed and sworn to before me this   6th   day of November, 2019.
15
16
17          6,A1:uus ivtJb1-- u d ~
       Hon. Allison H. Goddard
18   11United States Magistrate Judge
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                               ATTACHMENT A-1

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

      Black Samsung Android cellular phone
      IMEI No. 357135082946768/0l
      Seized as FP&F No. 2020565800001701
      ("Target Device #1 ")

Target Device # 1 is currently in the custody of the Department of Homeland Security,
Customs and Border Protection, United States Border Patrol, San Diego Sector.
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                                 ATTACHMENT B

                               ITEMS TO BE SEIZED

      Authorization to search the cellular telephone(s) described in Attachment(s) A-
l, A-2, and A-3 includes the search of disks, memory cards, deleted data, remnant data,
slack space, and temporary or permanent files contained on or in the cellular
telephone(s) for evidence described below. The seizure and search of the cellular
telephone(s) shall follow the search methodology described in the affidavit submitted
in support of the warrant(s).

       The evidence to be seized from the cellular telephone(s) will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files , videos, and location
data, for the period of October 5, 2019 through November 5, 2019:

      a.    tending to indicate efforts to smuggle aliens from Mexico into the United
            States;

      b.    tending to identify accounts, facilities , storage devices, and/or services-
            such as email addresses, IP addresses, and phone numbers-used to
            facilitate alien smuggling and transportation of smuggled aliens;

      c.    tending to identify co-conspirators, criminal associates, or others involved
            in alien smuggling, or transportation of smuggled aliens ;

      d.    tending to identify travel to or presence at locations involved in the
            smuggling, transportation, or harboring of illegal aliens, such as stash
            houses, load houses, or delivery points;

      e.    tending to identify the user of, or persons with control over or access to,
            the Target Device(s); and/or

      f.    tending to place in context, identify the creator or recipient of, or establish
            the time of creation or receipt of communications, records, or data involved
            in the activities described above,



which are evidence of violations of Title 8, United States Code, Section 1324.
